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                  EXHIBIT 7
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                                PŘǾĐŲČŤȘ   &   PŘİČİŇĢ      ŲȘĚ   ČǺȘĚȘ       ǺPİ   &   ĐǾČȘ     ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                ȘİĢŇ   ŲP      ĿǾĢ   İŇ




  țẅįŀįǿ



                                                         Țẅǿ-fǻčțǿř Ǻųțħěňțįčǻțįǿň
                                                         Șțřěňģțħěň — ěvěň řěpŀǻčě — țħě țřǻđįțįǿňǻŀ ųșěřňǻmě ǻňđ pǻșșẅǿřđ ŀǿģįň
                                                         fǿř ẅěbșįțěș, ȘǻǻȘ přǿđųčțș, ǻňđ mǿbįŀě ǻppș. Mǻđě ěǻșỳ fǿř đěvěŀǿpěřș,
               ǻųțħỳ                                     bųșįňěșșěș, ǻňđ ųșěřș.




              ǺŲȚĦỲ     ȘǿfțȚǿķěň                              ǺŲȚĦỲ      ǾňěČǿđě                                   ǺŲȚĦỲ    ǾňěȚǿųčħ

           Ģěț ǻ ňěẅ șěvěň-đįģįț ǻųțħěňțįčǻțįǿň            Đỳňǻmįč șěvěň-đįģįț ǻųțħěňțįčǻțįǿň                   Ǻppřǿvě ǿř đěňỳ țħě ǻųțħěňțįčǻțįǿň

        čǿđě ěvěřỳ țẅěňțỳ șěčǿňđș. Ǻvǻįŀǻbŀě              čǿđěș ģěňěřǻțěđ ǿň-đěmǻňđ. Đěŀįvěřěđ                 řěqųěșț ẅįțħ ǻ șįmpŀě ỳěș/ňǿ qųěșțįǿň.

       vįǻ țħě Ǻųțħỳ ǻpp fǿř mǿbįŀě, ẅěǻřǻbŀě             vįǻ ȘMȘ ǿř țěxț-țǿ-șpěěčħ pħǿňě čǻŀŀ țǿ              Pųșħ ňǿțįfįčǻțįǿňș ǻŀěřț ǿň ǻ přěvįǿųșŀỳ
                 ǻňđ đěșķțǿp pŀǻțfǿřmș.                             ǻ řěģįșțěřěđ ňųmběř.                              ǻųțħǿřįżěđ șmǻřțpħǿňě.




                         Ǻųțħỳ Țẅǿ-fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) įș țřųșțěđ bỳ ǿvěř 10,000 ẅěbșįțěș ǻňđ mǿbįŀě ǻppș.

       ČĿǾŲĐ İŇFŘǺȘȚŘŲČȚŲŘĚ                 ȘĚČŲŘİȚỲ ǾŘĢǺŇİŻǺȚİǾŇȘ             ĿĚǺĐİŇĢ ĢǺMİŇĢ ČǾMPǺŇİĚȘ                      ČŘỲPȚǾČŲŘŘĚŇČỲ




                  Čŀǿųđfŀǻřě                      İȘČ             Đěŀŀ                  Ħųmbŀě             țẅįțčħ         Čǿįňbǻșě               BįțĢǿ
                                                                                        Bųňđŀě




https://www.twilio.com/authy                                                                                                                                   1/5
                                                                     Ex. 7, p. 076
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                      Șįmpŀįčįțỳ fǿř đěvěŀǿpěřș                Șįmpŀįčįțỳ fǿř İȚ ǻđmįňș                                Șįmpŀįčįțỳ fǿř ųșěřș



              Șįmpŀě ŘĚȘȚ ǺPİ: Ǻđđ 2FǺ țǿ ẅěb          Ǻųđįțěđ ǻňđ věțțěđ bỳ țħįřđ                        Ňǿ ħǻřđẅǻřě țǿķěňș řěqųįřěđ
              ǻňđ mǿbįŀě ǻppș ẅįțħ fěẅěř țħǻň          pǻřțįěș, įňčŀųđįňģ fįňǻňčįǻŀ
                                                                                                          Ǻvǻįŀǻbŀě ǿň ǻňỳ đěvįčě:
              țěň ŀįňěș ǿf čǿđě                        įňșțįțųțįǿňș ǻňđ Đěŀŀ
                                                                                                          șmǻřțpħǿňě, țǻbŀěț, đěșķțǿp, ǻňđ
              Ěxțěňșįvě čŀįěňț ŀįbřǻřįěș (PĦP,         Ħįģħŀỳ řěŀįǻbŀě ẅįțħ 99.999%                       ẅěǻřǻbŀě
              Řųbỳ, Pỳțħǿň, Jǻvǻ, Ňǿđě.jș, ěțč)        ųpțįmě ǻňđ șųb-400 mįŀŀįșěčǿňđ
                                                                                                          Mųŀțįpŀě ǻųțħěňțįčǻțįǿň ǿpțįǿňș:
              ǻňđ țħǿřǿųģħ đǿčųměňțǻțįǿň               řěșpǿňșě țįmě șįňčě 2002
                                                                                                          ȘMȘ, Vǿįčě, Țįmě-bǻșěđ Ǿňě-țįmě
              Țěșțěđ ǻňđ ųșěđ bỳ mǿřě țħǻň             Șěŀf-șěřvįčě řěșųŀțș įň fěẅěř Ħěŀp                 Pǻșșčǿđě (ȚǾȚP), ǻňđ pųșħ
              20,000 đěvěŀǿpěřș șįňčě 2012             Đěșķ ǻňđ Čųșțǿměř Șěřvįčě čǻŀŀș                    ňǿțįfįčǻțįǿňș




                                                          Ǻųțħỳ ȘǿfțȚǿķěň


                                                    Řěčǿmměňđěđ fǿř ěmpŀǿỳěě, pǻřțňěř, ǻňđ čųșțǿměř ǻččěșș țǿ
                                                    čǿňfįđěňțįǻŀ pǿřțǻŀș ǻňđ ẅěb ǻppș. Ǻň ěxčěŀŀěňț řěpŀǻčěměňț
                                                    fǿř ħǻřđẅǻřě 2FǺ țǿķěňș.


                                                                  Ǻđđ 2FǺ ẅǿřķfŀǿẅș țǿ ǻňỳ ẅěb pǿřțǻŀ ǻňđ mǿbįŀě ǻpp ẅįțħ ǻ fěẅ ŀįňěș ǿf čǿđě.
                                                    ȘŤĚP 1




                                                                  Ģěňěřǻțě ǻ ȚǾȚP ěvěřỳ țẅěňțỳ șěčǿňđș, řěqųįřěđ fǿř țħě ųșěř țǿ ŀǿģ įň țǿ ǻňỳ
                                                    ȘŤĚP 2
                                                                  Ǻųțħỳ-șěčųřěđ ǻpp.




                          Čřǿșș-pŀǻțfǿřm ǻňđ
                                                                  Ǻđđěđ đěvįčě șěčųřįțỳ                              Șěŀf-șěřvįčě řěčǿvěřỳ
                          mųŀțį-đěvįčě




            Țħě Ǻųțħỳ ǻpp čǻň bě ųșěđ ǿň mųŀțįpŀě    Řěqųįřě ǻ ųșěř PİŇ ǿř đěvįčě bįǿměțřįč            Ǻŀŀǿẅ ųșěřș țǿ șțǻřț ųșįňģ ǻ řěpŀǻčěměňț
            ųșěř đěvįčěș įňčŀųđįňģ șmǻřțpħǿňěș,      (ȚǿųčħİĐ) běfǿřě ųșěřș čǻň șěě                    đěvįčě ẅįțħǿųț čǻŀŀįňģ ǻ ħěŀp đěșķ ẅįțħ
            țǻbŀěțș, ǻňđ đěșķțǿpș.                   ǻųțħěňțįčǻțįǿň čǿđěș įň țħě Ǻųțħỳ ǻpp.            čŀǿųđ bǻčķųp ǻňđ řěșțǿřě.




                                                             Ǻųțħỳ ǾňěČǿđě


https://www.twilio.com/authy                                                                                                                      2/5
                                                               Ex. 7, p. 077
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                                                         Authy Two­factor    Filed 03/28/16
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                                                                  #:85
                                                    Řěčǿmměňđěđ fǿř ųșěřș ẅħǿ đǿ ňǿț ħǻvě țħě Ǻųțħỳ ǻpp, ẅħěň
                                                    ǻđđěđ șěčųřįțỳ ŀǻỳěř ǿř fǻŀŀbǻčķ įș ňěěđěđ, ǻňđ țǿ řěǻčħ fěǻțųřě
                                                    pħǿňě, ŀǻňđŀįňě, ǿř șįģħț-įmpǻįřěđ įňđįvįđųǻŀș įň ǻččǿřđǻňčě
                                                    ẅįțħ țħě Ǻměřįčǻň Đįșǻbįŀįțįěș Ǻčț (ǺĐǺ) įň țħě ŲȘ.


                                                    ȘŤĚP 1
                                                                   Ǻđđ 2FǺ ẅǿřķfŀǿẅș țǿ ǻňỳ ẅěb pǿřțǻŀ ǻňđ mǿbįŀě ǻpp ẅįțħ ǻ fěẅ ŀįňěș ǿf čǿđě.


                                                                   Ǻ đỳňǻmįčǻŀŀỳ-ģěňěřǻțěđ, șěvěň-đįģįț ǻųțħěňțįčǻțįǿň čǿđě įș đěŀįvěřěđ vįǻ ȘMȘ
                                                    ȘŤĚP 2
                                                                   ǿř pħǿňě čǻŀŀ, ẅħįčħ įș řěqųįřěđ țǿ ŀǿģ įň țǿ ǻň Ǻųțħỳ-șěčųřěđ ǻpp.




                         Ŀǿčǻŀįżěđ ěxpěřįěňčěș                     Șěčǿňđǻřỳ ǿpțįǿňș                                   Řǿųțě čǿňňěčțįvįțỳ




            ȘMȘ ǻňđ vǿįčě měșșǻģěș čǻň bě            Čħǿǿșě țǿ șěňđ ǻųțħěňțįčǻțįǿň čǿđěș vįǻ             ȘMȘ ǻňđ čǻŀŀ čǿmpŀěțįǿň ǻșșųřǻňčě
            čųșțǿmįżěđ ǻňđ ŀǿčǻŀįżěđ đěpěňđįňģ ǿň    ȘMȘ ẅįțħ ǻ fǻŀŀbǻčķ țǿ pħǿňě čǻŀŀș, ǿř              bǻșěđ ǿň įňțěŀŀįģěňț řǿųțįňģ ǻčřǿșș ǿųř
            ųșěř ŀǿčǻțįǿň, čųșțǿmș, ǻňđ ŀǻňģųǻģě.    vįčě-věřșǻ.                                         ňěțẅǿřķ ǿf ǻģģřěģǻțǿřș ǻňđ čǻřřįěřș.




                                                          Ǻųțħỳ ǾňěȚǿųčħ


                                                    Řěčǿmměňđěđ fǿř įmpŀěměňțįňģ 2FǺ ǻț ŀǿģįň ǿř țǿ čǿňfįřm ǻ
                                                    țřǻňșǻčțįǿň. Đěŀįvěřș țħě mǿșț șțřěǻmŀįňěđ, șțřǿňģ-
                                                    ǻųțħěňțįčǻțįǿň přǿčěșș.


                                                    ȘŤĚP 1
                                                                   Ǻđđ 2FǺ ẅǿřķfŀǿẅș țǿ ǻňỳ ẅěb pǿřțǻŀ ǻňđ mǿbįŀě ǻpp ẅįțħ ǻ fěẅ ŀįňěș ǿf čǿđě.


                                                                   Ųșěřș řěčěįvě ǻ pųșħ-șțỳŀě ǻųțħěňțįčǻțįǿň řěqųěșț țǿ țħěįř șmǻřțpħǿňě. Țħě ųșěř

                                                    ȘŤĚP 2
                                                                   mųșț ħǻvě ǻ čǿmpǻňỳ mǿbįŀě ǻpp ẅįțħ ěmběđđěđ ǾňěȚǿųčħ čǿđě ǿř țħě Ǻųțħỳ
                                                                   ȘǿfțȚǿķěň ǻpp.




                         Șįmpŀįčįțỳ                                Ǻđvǻňčěđ přǿțěčțįǿň                                 Șțřǿňģěșț 2FǺ




            Ǻ șțřěǻmŀįňěđ 2FǺ ųșěř ěxpěřįěňčě. Ǻ     Řěŀįǻbŀě pųbŀįč/přįvǻțě ķěỳ pǻįř fǿř bǿțħ           Ǿųț-ǿf-bǻňđ ǻųțħěňțįčǻțįǿň țħǻț


https://www.twilio.com/authy                                                                                                                         3/5
                                                               Ex. 7, p. 078
3/16/2016      Case 2:16-cv-02106-PSG-SS                           Document        1-7Authentication
                                                                       Authy Two­factor    Filed 03/28/16
                                                                                                     ­ Twilio     Page 5 of 6 Page ID
            șįmpŀě, ǿňě țǿųčħ "ỳěș" ǿř "ňǿ".                                     #:86
                                                                  mųțųǻŀ ǻňđ měșșǻģě ǻųțħěňțįčǻțįǿň.          přǿțěčțș ǻģǻįňșț bǿțħ mǻň-įň-țħě-
                                                                                                                  mįđđŀě ǻňđ pħįșħįňģ ǻțțǻčķș.




                                                                  Ẅě čǻň'ț ẅǻįț țǿ șěě ẅħǻț ỳǿų bųįŀđ

                                                              Șțǻřț țǿđǻỳ ẅįțħ ǻ fřěě Ǻųțħỳ țřįǻŀ ǻččǿųňț.




                                    Țǻŀķ țǿ Șǻŀěș                                                                Ģěț șțǻřțěđ ňǿẅ




   ČǾMPǺŇỲ                            PŘǾĐŲČŤȘ                         PŘİČİŇĢ                     ŲȘĚ   ČǺȘĚȘ                  ǺPİ   &   ĐǾČȘ




   Ǻbǿųț Țẅįŀįǿ                       Přǿģřǻmmǻbŀě Vǿįčě               Vǿįčě Přįčįňģ               Čųșțǿměř Șțǿřįěș             Qųįčķșțǻřțș

   Ǿųř Ňįňě Vǻŀųěș                    Ěŀǻșțįč ȘİP Țřųňķįňģ             Měșșǻģįňģ Přįčįňģ           Șħǿẅčǻșě                     Țųțǿřįǻŀș


   Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș          Přǿģřǻmmǻbŀě Vįđěǿ               ȘİP Țřųňķįňģ Přįčįňģ        Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň    ǺPİ Řěfěřěňčě

   Țħě Țěǻm                           ȚǻșķŘǿųțěř                       Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș        Ħěŀpěř Ŀįbřǻřįěș


   Přěșș & Měđįǻ                      Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě        Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș       Bŀǿģ

   Țẅįŀįǿ.ǿřģ                         Přǿģřǻmmǻbŀě ȘMȘ                 ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș                   Ħěŀp

   Čǻřěěřș                            İP Měșșǻģįňģ                     Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                      Ǻųțħỳ                            İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș

                                      Mǿňįțǿř                                                      Vįșųǻŀ Ěșțįmǻțěș


                                      Ŀǿǿķųp                                                       Đěvěŀǿpěř Ňěțẅǿřķ

                                      Șųppǿřț Pŀǻňș                                                Ẅěbįňǻřș

                                                                                                   Ẅħįțě Pǻpěřș




   İŇQŲİŘİĚȘ




   Čǿňțǻčț Přěșș                Șųppǿřț

   Přěșș                        Șțǻțųș    Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ   Ŀěģǻŀ


https://www.twilio.com/authy                                                                                                                       4/5
                                                                           Ex. 7, p. 079
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                                                                      Authy Two­factor    Filed 03/28/16
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https://www.twilio.com/authy                                                                                                         5/5
                                                                               Ex. 7, p. 080
